                    UNITED STATES BANKRUPTCY COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
                            NORTHERN DIVISION

 In the Matter of:                }
 MADISON CHIROPRACTIC & NUTRITION }                  CASE NO. 18-82075-CRJ-11
 CENTER, LLC                      }
                                  }
                                  }                  CHAPTER 11
        Debtor                    }


                  ORDER APPROVING DEBTOR’S FIRST AMENDED
               DISCLOSURE STATEMENT DATED FEBRUARY 27, 2019;
            SCHEDULING CONFIRMATION HEARING; FIXING TIME FOR
              OBJECTING TO CONFIRMATION AND TIME FOR FILING
                    ACCEPTANCES OR REJECTIONS OF PLAN

        This case came before the Court on March 4, 2019 for hearing on Debtor’s First Amended

 Disclosure Statement dated February 27, 2019. Appearing at the hearing were Tazewell Taylor

 Shepard IV, Esq., counsel for the Debtor, and Richard Blythe, Esq., counsel for the Bankruptcy

 Administrator.

        No objections to the First Amended Disclosure Statement having been filed, the Court finds

 that the First Amended Disclosure Statement contains adequate information about the Debtor’s

 Plan of Reorganization as required under 11 U.S.C. ' 1125.

        IT IS THEREFORE ORDERED, ADJUDGED AND DECREED AS FOLLOWS:

 1.     The Debtor’s First Amended Disclosure Statement is hereby APPROVED.

 2.     Pursuant to Rule 3017(c), a hearing on Confirmation of the Plan will be held on Monday,

 April 15, 2019 at 10:00 a.m. before the Honorable Clifton R. Jessup, Jr. at the United States

 Courthouse, 400 Well Street, Decatur, AL 35601.




Case 18-82075-CRJ11       Doc 71    Filed 03/05/19 Entered 03/05/19 09:54:21            Desc Main
                                   Document     Page 1 of 2
 3.     Pursuant to Bankruptcy Rule 3017(c), Thursday, April 4, 2019 by 5:00 p.m., CDT is

 fixed as the deadline by which the holders of claims and interests against the Debtor must file

 ballots accepting or rejecting the Plan.

 4.     Pursuant to Bankruptcy Rule 3020(b)(1), Thursday, April 4, 2019 by 5:00 p.m., CDT,

 CDT is fixed as the last day by which creditors and parties in interest must file any objections to

 confirmation of the Plan.

 5.     The Debtor must tabulate all acceptances and rejections of the Plan and file a Ballot

 Summary with the Court on or before Wednesday, April 10, 2019 by 12:00 p.m., CDT.

 6.     The Debtor must file a Memorandum in Support of Confirmation explaining pursuant

 to 11 U.S.C. ' 1129 how the Plan of Reorganization satisfies the requirements for confirmation,

 including evidence of feasibility on or before Wednesday, April 10, 2019 by 12:00 p.m., CDT.


 Dated this the 5th day of March, 2019.

                                                      /s/ Clifton R. Jessup, Jr.
                                                      Clifton R. Jessup, Jr.
                                                      United States Bankruptcy Judge




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Case 18-82075-CRJ11          Doc 71    Filed 03/05/19 Entered 03/05/19 09:54:21           Desc Main
                                      Document     Page 2 of 2
